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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

               Case No. 1:15-cv-025560-WJM-MJW
               ______________________________________________________
               DEPOSITION OF: ROBERT B. MOFFITT - August 10, 2017
               ______________________________________________________

               LORRAINE M. RAMOS, CONSTANCE R. WILLIAMSON, KAREN F.
               McCLEOD, ROBERT MOFFITT, CHERLENE M. GOODALE, LINDA
               ANN HEYRMAN, and DELRI HANSON, individually and as
               representatives of a class of plan participants, on
               behalf of the Banner Health Employees 401(k) Plan,

               Plaintiffs,

               v.

               BANNER HEALTH, BANNER HEALTH BOARD OF DIRECTORS,
               LAREN BATES, WILFORD A. CARDON, RONALD J. CREASMAN,
               GILBERT DAVILA, WILLIAM M. DWYER, PETER S. FINE,
               SUSAN B. FOOTE, MICHAEL J. FRICK, MICHAEL GARNREITER,
               RICHARD N. HALL, BARRY A. HENDIN, DAVID KIKUMOTO,
               LARRY S. LAZARUS, STEVEN W. LYNN, ANNE MARIUCCI,
               MARTIN L. SHULTZ, MARK N. SKLAR, QUENTIN P. SMITH,
               JR., CHRISTOPHER VOLK, CHERYL WENZINGER, BANNER HEALTH
               RETIREMENT PLANS ADVISORY COMMITTEE, BRENDA SCHAEFER,
               BRUCE E. PEARSON, CHARLES P. LEHN, COLLEEN HALLBERG,
               DAN WEINMAN, DENNIS DAHLEN, ED NIEMANN, JR.,
               ED OXFORD, JEFF BUEHRLE, JENNIFER SHERWOOD,
               JULIE NUNLEY, MARGARET DEHAAN, PATRICIA K. BLOCK,
               PAULETTE FRIDAY, RICHARD O. SUTTON, ROBERT LUND,
               MICHAEL GILLEN, STEVEN L. SEILER, THOMAS R. KOELBL,
               and JEFFREY SLOCUM & ASSOCIATES, INC.,
               Defendants.
               ______________________________________________________

                         PURSUANT TO NOTICE, the deposition of
               ROBERT B. MOFFITT was taken on behalf of the
               Defendants at 1635 Foxtrail Drive, Loveland,
               Colorado, on August 10, 2017, at 9:54 a.m., before
               Lisa B. Kelly, Registered Professional Reporter,
               Certified Realtime Reporter, and Notary Public within
               Colorado.




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          1              A.    -- as pointed out in the court documents.
          2              Q.    Right.
          3              A.    The ones they were offering at that time
          4    were much more expensive than other -- other ones from
          5    different fund families.
          6              Q.    So the Banner Health fiduciaries should
          7    have chosen the cheapest within that investment class;
          8    is that right?
          9                    MR. SCHWARTZ:     Object to form.      Calls for
         10    a legal conclusion.
         11                    MR. PEARL:    No.   I'm asking if that's
         12    what his testimony was, because I think that's what
         13    his testimony was.
         14              A.    My testimony is they have a fiduciary
         15    duty to provide the funds that are best for the class
         16    members, the participants in the 401(k) plan.            And if
         17    they do not do that, I think they violate their
         18    fiduciary duty.
         19                    And I think across the board, that the
         20    court documents that have been shown, that's exactly
         21    what they did.     They made choices that benefited them,
         22    them being Fidelity, Slocum, people that were charged
         23    by Banner; and by law, to act in a fiduciary way, that
         24    should have enhanced every one of the investors in the
         25    plan, but they failed to do that.
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          1                    And I think just talking about this, and
          2    the fact that they -- the other fund families offered
          3    things that were cheaper, that basically did the same
          4    dang thing, they violated their fiduciary duties.
          5              Q.    (BY MR. PEARL)     You think --
          6              A.    And that's why, in part, not going into
          7    the relationship with the lawsuit, but since then, the
          8    things that I've read that are alleged, that that's
          9    the whole point of the lawsuit, will be validated or
         10    invalidated.
         11                    I don't think the fiduciary duty was met.
         12    In fact, I think it was stomped all over and beaten to
         13    hell.
         14              Q.    What is the basis for your testimony that
         15    fiduciaries made decisions to benefit Slocum?
         16                    MR. SCHWARTZ:     I just remind the witness
         17    not to disclose any communications between you and
         18    counsel.    But otherwise, please, do feel free to
         19    answer.
         20              A.    Other than that, I can't.
         21              Q.    (BY MR. PEARL)     You have no facts, other
         22    than communications with your attorneys?
         23                    MR. SCHWARTZ:     Object to form.      But
         24    please, go ahead.
         25              A.    If written -- yes.      If written paperwork
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          1    anything I wanted here.       "Please feel free to contact
          2    us directly."
          3                    But you've got to -- you've got a giant
          4    corporation.     You've got a giant fund family making
          5    these decisions.      And as an individual, 1 of 30,000
          6    people, I'm going to call them up and say, Can you
          7    change the mix, please, to suit me?
          8                    I took it on face value that that's what
          9    they were offering and that's what I had.           My mind
         10    doesn't run that I've got enough power to influence
         11    two or three giant corporations and their choices.             It
         12    just didn't occur to me I could do that.
         13                    And as far as questions, there were -- I
         14    mean, I didn't have questions, per se, about the
         15    investing because I knew that or I could learn it
         16    myself.
         17              Q.    (BY MR. PEARL)     Do you know who you sued
         18    in this case?     Do you know who the defendants are?
         19              A.    Most recently, I think Banner Health and
         20    Slocum has been added to it.        If I've overlooked
         21    anybody, I'm not aware.       I just haven't thought of it
         22    at the moment.     But it seems to me like those are the
         23    defendants in the lawsuit.
         24              Q.    How about the individual people that were
         25    sued?     Do you know any of them?
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          1              A.    I know one person that was listed as a
          2    person of -- yeah, one of the defendants.
          3              Q.    Who?
          4              A.    Rick Sutton.
          5              Q.    How do you know Rick?
          6              A.    He was an administrator at Banner.           Then
          7    he became a regional director, I think, as well.             And
          8    he went from McKee to NCMC, then I believe he became a
          9    regional player.
         10              Q.    Do you know him personally?
         11              A.    No.
         12              Q.    Just know his name?
         13              A.    No.    I've met him at -- he used to have
         14    some horrendously nice parties.         I met him at those.
         15    And I would meet him around the hospital.           And he
         16    would actually come over and talk to some of my
         17    coworkers quite frequently.        But other than that, no.
         18                    I used to drive by his house on the
         19    bicycle path.
         20              Q.    Can you just take -- I don't need to mark
         21    it.     Could you just take a look at the names of the
         22    defendants and let me know if there's anyone else you
         23    know.
         24              A.    I know at least one other person there
         25    by -- Peter Fine.       He's the CEO.
